Case 6:22-cr-00003-JDK-JDL Document 285 Filed 06/09/22 Page 1 of 1 PageID #: 837




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                       §
                                                 §
                                                 § CASE NUMBER 6:22-CR-00003-JDK
 v.                                              §
                                                 §
                                                 §
 JEFFREY PAUL MADISON (7),                       §
                                                 §

                                          ORDER


        This case is set for Pretrial Conference on MONDAY, JULY 11, 2022 at 1:30 p.m.,

 Jury Selection and Trial set on MONDAY, JULY 18, 2022 at 9:00 a.m. before United States

 District Judge Jeremy D. Kernodle in Tyler, Texas.


        It is, further, ORDERED that, pursuant to Federal Rule of Criminal Procedure 11(e)(5)

 and the holding of the Fifth Circuit Court of Appeals in United States of America v. Ellis, 547

 F.2d 863 (5th Cir. 1977), the deadline for notifying the Court of any plea bargain or plea

 agreement entered into by the parties in this cause is MONDAY, JUNE 20, 2022 at 12:00 p.m.

 No plea bargain or plea agreement entered into after that date shall be honored by this Court

 without good cause for the delay.




      So ORDERED and SIGNED this 9th day of June, 2022.
